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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA
1) JANE DOE NO. 1, and                                )
2) JANE DOE NO. 2                                     )
                                                      )
               Plaintiffs,                            )
v.                                                    )
                                                      )
1) POTEAU PUBLIC SCHOOLS,                             )
   PUBLIC SCHOOL DISTRICT                             )
   OF THE CITY OF POTEAU,                             )
   LEFLORE COUNTY, OKLAHOMA,                          )
2) DON SJOBERG, Superintendent,                       )
   in his official and individual capacities,         )
3) MARSHALL BRENCE, Principal,                        )
   in his official and individual capacities,         )
4) JENNIFER LAMB, Assistant Principal,                )            21-CV-338-SPS
   in her official and individual capacities,         )
5) BRENDA DALTON, Title IX Coordinator,               )
   in her official and individual capacities,         )
6) ANDREA TRAYWICK, Counselor,                        )
   in her official and individual capacities,         )
7) KY BUTLER, Teacher, in her                         )
   official and individual capacities, and            )
8) EDGAR ANDREW PERDUE or                             )
   “ANDY” PERDUE, Teacher,                            )
   in his official and individual capacities,         )
                                                      )
               Defendants.                            )

                                      NOTICE OF REMOVAL

To the United States District Court for the Eastern District of Oklahoma:

       The Defendants, Independent School District No. 29 of Leflore County, Oklahoma

commonly known as Poteau Public Schools (the “School District”), Don Sjoberg, Superintendent

in his official and individual capacities (“Sjoberg”), Marshall Brence, Principal, in his official and

individual capacities (“Brence”), Jennifer Lamb, Assistant Principal, in her official and individual

capacities (“Lamb”), Brenda Dalton, Title IX Coordinator, in her official and individual capacities

(“Dalton”), Andrea Traywick, Counselor, in her official and individual capacities (“Traywick”),


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and Ky Butler, Teacher, in her official and individual capacities (“Butler”) (collectively referred

to as the “School District Defendants”), pursuant to 28 U.S.C. § 1441 and § 1446, FED. R. CIV. P.

81, and LCvR 81.1 and 81.2, remove an action pending in the District Court for Leflore County,

Oklahoma, to this Court, and accordingly state:

       1.      An action has been brought by Plaintiffs, Jane Doe No. 1 and Jane Doe No. 2 (the

“Plaintiffs”),1 against the School District Defendants and Defendant Edgar Andrew Perdue or

“Andy” Perdue, Teacher, in his official and individual capacities (“Defendant Perdue”), in the

District Court of Leflore County, Oklahoma, styled as Jane Doe No. 1 and Jane Doe No. 2 v.

Poteau Public Schools, Public School District of the City of Poteau, Leflore County, Oklahoma,

et al., Case No. CJ-2021-125 (the “State Court Action”).

       2.      Pursuant to 28 U.S.C. § 116(b), Leflore County is within the federal judicial district

served by the United States District Court for the Eastern District of Oklahoma.

       3.      Per an agreement between counsel for the School District Defendants and counsel

for the Plaintiffs, the School District Defendants were served with copies of the Plaintiffs’ Petition

initiating the State Court Action via email on October 22, 2021. The Petition purports to assert

claims under Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq. (“Title

IX”), under 42 U.S.C. § 1983, under the Americans with Disabilities Act, 42 U.S.C. § 12101, et

seq. (the “ADA”), Section 504 of the Rehabilitation Act, 29 U.S.C. § 794, et seq. (“Section 504”),

and violations of FERPA and HIPAA.




1
 The Plaintiffs are proceeding in this matter under the aliases of “Jane Doe No. 1” and “Jane Doe
No. 2.” The Plaintiffs, however, did not make any motion or application with the District Court in
Leflore County pursuant to OKLA. STAT. tit. 12, § 3226(C).
                                                  2
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       4.      This Notice of Removal is being filed on November 12, 2021, which is twenty-one

(21) days after service of the Petition in the State Court Action on the School District Defendants.

This Notice of Removal is, therefore, timely. 28 U.S.C. § 1446(b).

       5.      Pursuant to 28 U.S.C. § 1331, the United States District Court for the Eastern

District of Oklahoma has original jurisdiction over Plaintiffs’ Title IX, 42 U.S.C. § 1983, ADA,

and Section 504 claims. Specifically, the Plaintiffs allege that the School District violated Title IX

because it failed to promptly and appropriately respond to the alleged sexual harassment of

Plaintiff Jane Doe No. 1 (“Jane Doe No. 1”) by Defendant Perdue, which resulted in Jane Doe No.

1 being excluded from participation in, being denied the benefits of, and being subjected to

discrimination in the School District’s education program in violation of Title IX. The Plaintiffs

further allege that the School District failed to report the alleged sexual assault and harassment to

law enforcement and failed to complete a Title IX complaint form, and discouraged the Plaintiffs

from making any reports. As to their 42 U.S.C. § 1983 claims, the Plaintiffs allege that the School

District Defendants violated Jane Doe No. 1’s rights to equal protection. The Plaintiffs allege that

the School District had a custom, policy, or practice of disparate treatment of females. Finally, the

Plaintiffs allege that Jane Doe No. 1 suffered from a disability and the School District Defendants

failed to make reasonable accommodations to ensure that employees with a history of sexual

harassment were not left alone to further harm Jane Doe No. 1. On their face, these allegations

purport to state federal law claims against the School District Defendants.

       6.      Pursuant to 28 U.S.C. § 1441, removal of the State Court Action to the United States

District Court for the Eastern District of Oklahoma is proper.

       7.      All documents filed or served from the State Court Action, along with a copy of the

state court docket sheet, are attached to this Notice of Removal and made a part hereof. 28 U.S.C.



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§ 1446(a); LCvR 81.2. The Plaintiffs’ Petition is attached as Exhibit 1. An Affidavit of Service

filed by Plaintiffs reflects service of the Petition upon the School District Defendants is attached

as Exhibit 2. The Summonses issued and served upon the School District Defendants are attached

hereto as Exhibits 3, 4, 5, 6, 7, 8, and 9, respectively. A copy of the Leflore County docket sheet

is attached as Exhibit 10.

       8.      Defendant Perdue has not yet been served, but consents to this removal.

       9.      Pursuant to Oklahoma statute, OKLA. STAT. tit. 12, § 2012, the Defendants’

deadline to answer or otherwise plead in the District Court for LeFlore County, Oklahoma is

November 12, 2021.2 Because this Notice of Removal has been filed on November 12, 2021, in

accordance with FED. R. CIV. P. 81(c)(2), the Defendants have until November 19, 2021 to file

their answer or otherwise plead in this Court.

                                              Respectfully submitted,

                                              ROSENSTEIN, FIST & RINGOLD



                                              By:    s/ Brian J. Kuester
                                                     Brian J. Kuester, OBA No. 18753
                                                     Eric D. Wade, OBA No. 19249
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                                                     ekrukowski@rfrlaw.com

                                                     Attorneys for School District Defendants



2
 November 11, 2021 was Veteran’s Day, a federal and official State of Oklahoma holiday and the
Leflore County courthouse was closed.
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                               CERTIFICATE OF DELIVERY

               I hereby certify that on November 12, 2021, I electronically transmitted the attached
document to the Clerk of the Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to the following ECF registrants, to:

       Alan M. Taylor, Esq.
       PALMER LAW
       1609 Arlington
       Ada, Oklahoma 74820
       (405) 885-0890
       palmer@callpalmer.com
       taylor@callpalmer.com
       Attorney for Plaintiffs

                I hereby certify that on November ____, 2021, I served the attached document by
United States Certified Mail, Return Receipt Requested on the following, who are not registered
participants of the ECF System:


                                                     s/ Brian J. Kuester
                                                                   BRIAN J. KUESTER




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